Case 19-71228       Doc 44     Filed 12/19/19 Entered 12/19/19 15:20:33         Desc Main
                                 Document     Page 1 of 7


                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                 VALDOSTA DIVISION

 IN RE:                                         )            CASE NO. 19-71228 JTL
                                                )
 RICKEY S. CARTER                               )
                                                )
          DEBTOR                                )            CHAPTER 7

          NOTICE OF INTENT TO ABANDON PROPERTY OF THE ESTATE

          Pursuant to Fed.R.Bankr.P. 6007 and M.D. Ga. LBR 6007-1(b), Robert M.

 Matson, Trustee of the estate of the above-named Debtor, has determined that the

 following property is burdensome to the estate and should be abandoned:

                               PROPERTY DESCRIPTION

    1. 807 Tifton Road/Highway, Nashville, GA 31639 (Asset 1.3 on Amended
       Schedule A/B) with a value of $300,000.00.
    2. 4342 North Valdosta Road, Valdosta, GA 31602 (Asset 1.4 on Amended
       Schedule A/B) with a value of $1,200,000.00.
    3. 2116 Dogwood Drive, Valdosta, GA 31602 (Asset 1.5 on Amended Schedule
       A/B) with a value of $57,433.00.
    4. 4487 Val North Drive, Valdosta, GA 31602 (Asset 1.10 on Amended Schedule
       A/B with a value of $350,00.00.

          Items one through four are secured by the claim of Farmers and Merchants Bank

 and have no equity. The Trustee is also abandoning these assets to reduce the estate’s

 exposure to adverse liability and tax consequences. Pursuant to 11 U.S.C. § 554(a),

 Robert M. Matson abandons the above-described properties on December 19, 2019 to the

 extent that they are property of the estate.

          This 19th day of December, 2019.

                                                 /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                   Robert M. Matson
 P.O. Box 1773                                  Chapter 7 Trustee
 Macon, GA 31202                                State Bar No. 477102
 (478) 742-1889
 rmatson@akin-webster.com
Case 19-71228       Doc 44    Filed 12/19/19 Entered 12/19/19 15:20:33            Desc Main
                                Document     Page 2 of 7


                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

 IN RE:                                        )              CASE NO. 19-71228 JTL
                                               )
 RICKEY S. CARTER                              )
                                               )
          DEBTOR                               )              CHAPTER 7

                              CERTIFICATE OF SERVICE

         This certifies that I served a copy of the Notice of Intent to Abandon Property of
 the Estate on Thomas D. Lovett and the Office of the United States Trustee via
 CM/ECF electronic notice and on all interested parties listed in the attached matrix by
 depositing it in the US Mail in a properly addressed envelope with adequate postage
 attached.

          This 19th day of December, 2019.

                                                /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                  Robert M. Matson
 P.O. Box 1773                                 Chapter 7 Trustee
 Macon, GA 31202                               State Bar No. 477102
 (478) 742-1889
 rmatson@akin-webster.com
                  Case
Label Matrix for local     19-71228
                       noticing       Doc 44 CNHFiled  12/19/19
                                                 Industrial           Entered
                                                            Capital America, LLC 12/19/19 15:20:33
                                                                                             Diversified Desc   Main
                                                                                                         Financial Services, LLC
113G-7                                            Document           Page
                                             c/o John T. McGoldrick, Jr.     3  of 7         c/o Joseph W. Dent
Case 19-71228                                  P.O. Box 1606                                    320 Residence Avenue
Middle District of Georgia                     Macon, GA 31202-1606                             P.O. Box 2008
Valdosta                                                                                        Albany, GA 31702-2008
Thu Dec 19 14:58:19 EST 2019
(p)FARMERS AND MERCHANTS BANK GA               Weeks Farm Machinery Auction, Inc.               7
3303 INNER PERIMETER ROAD                      c/o David L. Bury, Jr.                           901 Front Avenue
VALDOSTA GA 31602-7094                         Stone & Baxter, LLP                              P.O. Box 2147
                                               577 Mulberry Street, Suite 800                   Columbus, GA 31902-2147
                                               Macon, GA 31201-8256

#Georgia Dept. of Revenue                      A&I Products                                     Ag-Pro Companies
Compliance Division                            25639 Network Plance                             P.O. Box 95
ARCS-Bankruptcy                                Chicago, IL 60673-1256                           Boston, GA 31626-0095
1800 Century Blvd., NE, Suite 9100
Atlanta, GA 30345-3205

Alamo Group                                    Alexander’s Replacement Parts                    Amex
P.O. Box 840341                                P.O. Box 28                                      Correspondence/Bankruptcy
Dallas, TX 75284-0341                          Winnsboro, TX 75494-0028                         Po Box 981540
                                                                                                El Paso, TX 79998-1540


Amex                                           Ansung-USA, LLC                                  Arrowhead Electrical Products
Po Box 297871                                  1402 Dunn Drive Suite 110                        3705 95th AVe
Fort Lauderdale, FL 33329-7871                 Carrollton, TX 75006-6927                        Blaine, MN 55014-3832



Atlantic Qual.                                 Bad Boy Inc.                                     Bank of Alapaha
P.O. Box 8878                                  102 Industrial Drive                             P.O. Box 45
Carol Stream, IL 60197-8878                    Batesville, AR 72501-9776                        Alapaha, GA 31622-0045



Bank of Alapaha                                Basic Software Sytems                            Bell, Inc.
c/o Karl E. Osmus                              905 North Kings Highway                          P.O. Box 223
1010 Williams Street                           Texarkana, TX 75501-2201                         Inverness, MS 38753-0223
Valdosta, Georgia 31601-4039


Bennett International Logistic                 Blue Diamond Attachments                         Brown Manufacturing
P.O. Box 100004                                4512 Anderson Rd.                                6001 E. Hwy 27
McDonough, GA 30253-9304                       Knoxville, TN 37918-2713                         Ozark, AL 36360-3965



Bush Hog, LLC                                  CNH Capital America LLC                          CNH Industrial Capital America, LLC
P.O. Box 277213                                233 Lake Avenue                                  19500 N. 1425 East Rd.
Atlanta, GA 30384-7213                         Racine, WI 53403-1015                            Hudson, IL 61748-7630



CNH Industrial Capital America, LLC            Card Assets Llc                                  Cathy Walker
c/o John T. McGoldrick, Jr.                    600 W Main                                       123 Bonnie Lane
P.O. Box 1606                                  Jacksonville, AR 72076-4432                      Lake Park, GA 31636-5607
Macon, Georgia 31202-1606
Chase Card ServicesCase 19-71228      Doc 44 Chase
                                               Filed
                                                   Card12/19/19
                                                        Services Entered 12/19/19 15:20:33      Desc Main
                                                                                     Cinta Corp #220
Attn: Bankruptcy                                   Document
                                             Po Box 15298        Page 4 of 7         P.O. Box 360910
Po Box 15298                                 Wilmington, DE 19850-5298               Cincinnati, OH 45263-0910
Wilmington, DE 19850-5298


Coleman Talley, LLP                          Colonial Life Premium Process           Community Coffee Company
c/o Mark Gilbert                             P.O. Box 903                            P.O. Box 679510
P.O. Box 5437                                Columbia, SC 29202-0903                 Dallas, TX 75267-9510
Valdosta, GA 31603-5437


Cowart & Son Storage                         David M. Wolfson, P.C.                  Davis, Pickren, Seydel & Sneed
2317 Old Clyattville RD.                     c/o Karl Osmus                          c/o Patrick Sneed
Valdosta, GA 31601-1235                      1010 Williams Street                    285 Peachtree Center Avenue Suite 2300
                                             Valdosta, GA 31601-4039                 Atlanta, GA 30303-1232


Diamond Mowers Inc.                          Dirt Dog Manufacturing                  Discover Bank
P.O. Box 85030                               2405 US 441 South                       Discover Products Inc
Sioux Falls, SD 57118-5030                   Commerce, GA 30529-4889                 PO Box 3025
                                                                                     New Albany, OH 43054-3025


(p)DISCOVER FINANCIAL SERVICES LLC           Dish Network                            Diversified Financial Services
PO BOX 3025                                  PO Box 9033                             P.O. Box 30040
NEW ALBANY OH 43054-3025                     Littleton, CO 80160-9033                Omaha, NE 68103-1140



Diversified Financial Services, LLC          EMC Insurance Companies                 Elizabeth A. Hardy
c/o Joseph W. Dent                           P.O. Box 219225                         440 Martin Luther King Jr. Blvd.
Watson Spence LLP                            Kansas City, MO 64121-9225              Room 302
P. O. Box 2008                                                                       Macon, GA 31201-7987
Albany, GA 31702-2008

Engine Power Source                          Farmers and Merchants Bank              Fausett Oil Company
P.O. Box 36190                               c/o Mark A. Gilbert                     P.O. Box 266
Rock Hill, SC 29732-0502                     Coleman Talley LLP                      Nashville, GA 31639-0266
                                             P.O. Box 5437
                                             Valdosta, GA 31603-5437

Gardner of Florida Ltd.                      Georgia Attorney General                (p)GEORGIA DEPARTMENT OF REVENUE
P.O. Box 538176                              40 Capital Square SW                    COMPLIANCE DIVISION
Atlanta, GA 30353-8176                       Atlanta, GA 30334-9057                  ARCS BANKRUPTCY
                                                                                     1800 CENTURY BLVD NE SUITE 9100
                                                                                     ATLANTA GA 30345-3202

Great Plains                                 Gulf Coast Turf & Tractor               Henry Mitchem Equipment Co.
P.O. Box 226                                 404 N. Frontage Rd.                     P.O. Box 490177
Salina, KS 67402-0226                        Plant City, FL 33563-9188               Leesburg, FL 34749-0177



Implement Sales                              Internal Revenue Service                John T. McGoldrick, Jr.
1574 Stone Ridge Drive                       PO Box 7346                             Attorney at Law
Stone Mountain, GA 30083-1404                Philadelphia, PA 19101-7346             P.O. Box 1606
                                                                                     Macon, GA 31202-1606
Josh Burke         Case 19-71228   Doc 44 Kelley
                                            Filed   12/19/19Co. Entered 12/19/19 15:20:33
                                                 Manufacturing                                 Desc Main
                                                                                    Kimball Midwest
2116 Dogwood Drive                             Document
                                          P.O. Drawer 1467     Page  5 of 7         Dept. L-2780
Valdosta, GA 31602-2708                    Tifton, GA 31793-1467                    Columbus, OH 43260-2780



Kubota Credit Corp                         Kubota Credit Corp                       LMC-AG, LLC
1000 Kubota Dr                             Attn: Bankruptcy                         P.O. Drawer 3608
Grapevine, TX 76051-2334                   Po Box 2046                              Albany, GA 31706-3608
                                           Grapevine, TX 76099-2046


Land Pride                                 Landoll Corporation                      Lane Shark USA LLC
P.O. Box 204183                            P.O. Box 469                             4600 Highway 97A
Dallas, TX 75320-4183                      Marysville, KS 66508-0469                Mc David, FL 32568-1439



Langdale Fuel Company                      Lisa Carter                              Loftness Specialized Eq Inc.
P.O. Box 0746                              235 Walton Way                           P.O. Box 337
Valdosta, GA 31603-0746                    Nashville, GA 31639-6455                 Hector, MN 55342-0337



Lovett & Tharpe                            Master Craft Industrial Equipment        Mastercraft
P.O. Box 190                               333 Southwell Blvd                       333 Southwell Blvd.
Dublin, GA 31040-0190                      Tifton, GA 31794-8828                    Tifton, GA 31794-8828



Monroe Tufline Manufacturing Co.           Mr. Cooper                               Mr. Cooper
P.O. Box 7755                              350 Highland                             Attn: Bankruptcy
Columbus, MS 39705-0004                    Houston, TX 77009-6623                   8950 Cypress Waters Blvd
                                                                                    Coppell, TX 75019-4620


Nashville Tractor, Inc.                    Nichols Tillage Tools, Inc.              Northside Automotive
807 Tifton Rd.                             312 Hereford Avenue                      P.O. Box 698
Nashville, GA 31639-8704                   Sterling, CO 80751-8472                  Valdosta, GA 31603-0698



Paladin Brands Group, Inc.                 Ricoh                                    Rotary Corporation
7194 Solution Center                       P.O. Box 740540                          P.O. Box 930216
Chicago, IL 60677-7001                     Atlanta, GA 30374-0540                   Atlanta, GA 31193-0216



Royal Brass and Hose                       Safety-Kleen Corp.                       Shell Credit Card
P.O. Box 51468                             P.O. Box 650509                          P.O. Box 183019
Knoxville, TN 37950-1468                   Dallas, TX 75265-0509                    Columbus, OH 43218-3019



Southern Marketing Affil.                  Sparex Inc.                              Stihl Southeast, Inc.
P.O. Box 2247                              1500 North Raddant Rd.                   2304 W. Taft Vineland Rd.
Jonesboro, AR 72402-2247                   Batavia, IL 60510-1377                   Orlando, FL 32837-7837
Studstill Firm, LLPCase 19-71228          Doc 44 TagFiled  12/19/19
                                                     Manufacturing, Inc. Entered 12/19/19 15:20:33
                                                                                             Tarver SalesDesc Main
Attn: Danny Studstill                                 Document
                                                 P.O. Box 23667          Page 6 of 7         84636 Highway 25
P. O. Box 647                                        Chattanooga, TN 37422-3667                           Folsom, LA 70437-5826
Nashville, GA 31639-0647


The Perry Company                                    U. S. Securities and Exchange Commission             U.S. Attorney General
500 S. Valley Mills Drive                            Atlanta Regional Office                              U.S. Department of Justice
Waco, TX 76711-1176                                  Reorganization Branch                                950 Pennsylvania Avenue, NW
                                                     950 East Paces Ferry Rd NE., Ste. 900                Washington, DC 20530-0001
                                                     Atlanta, GA 30326-1382

U.S. Trustee - MAC                                   United States Attorney                               VISA
440 Martin Luther King Jr. Boulevard                 Attn: Barbara Parker                                 P.O. Box 30131
Suite 302                                            Post Office Box 1702                                 Tampa, FL 33630-3131
Macon, GA 31201-7987                                 Macon, GA 31202-1702


Valmont Industries, Inc.                             Vans Equipment Co. Inc.                              WR Long, Inc.
P.O. Box 96969                                       P.O. Box 3157                                        P.O. Box 460
Chicago, IL 60693-6969                               Moultrie, GA 31776-3157                              Tarboro, NC 27886-0460



Weeks Farm Machinery Auction, Inc.                   Wells Fargo Home Mor                                 Wells Fargo Home Mortgage
c/o Dedra Varnadoe                                   Po Box 10335                                         Attn: Written Correspondence/Bankruptcy
2186 Sylvester Highway                               Des Moines, IA 50306-0335                            Mac#2302-04e Pob 10335
Moultrie, GA 31768-7100                                                                                   Des Moines, IA 50306


Windstream                                           Woods/Alloway                                        Rickey S. Carter
P.O. Box 9001908                                     P.O. Box 91736                                       235 Walton Way
Louisville, KY 40290-1908                            Chicago, IL 60693-1736                               Nashville, GA 31639-6455



Robert M. Matson                                     Thomas D. Lovett
Chapter 7 Trustee                                    Kelley, Lovett, Blakey and Sanders, P.C.
P.O. Box 309                                         P.O. Box 1164
Macon, GA 31202-0309                                 2912-B North Oak Street
                                                     Valdosta, GA 31602-5919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Farmers and Merchants Bank                           Discover Financial                                   (d)Discover Financial
PO Box 187                                           Attn: Bankruptcy Department                          Po Box 15316
Lakeland, GA 31635                                   Po Box 15316                                         Wilmington, DE 19850
                                                     Wilmington, DE 19850


(d)Farmers & Merchants Bank                          Georgia Dept. of Revenue
110 Carter St                                        Compliance Division
Lakeland, GA 31635                                   ARCS-Bankruptcy
                                                     1800 Century Blvd., NE, Suite 9100
                                                     Atlanta, GA 30345-3205
                     Case 19-71228        Doc 44       Filed 12/19/19 Entered 12/19/19 15:20:33                      Desc Main
                                                         Document     Page 7 of 7

                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Bank of Alapaha                                   (d)Weeks Farm Machinery Auction, LLC                 End of Label Matrix
                                                     c/o David L. Bury, Jr.                               Mailable recipients   109
                                                     Stone & Baxter, LLP                                  Bypassed recipients     2
                                                     577 Mulberry Street, Suite 800                       Total                 111
                                                     Macon, GA 31201-8256
